Case 1:22-cv-00944-JMB-SJB ECF No. 23, PageID.333 Filed 01/19/23 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN

 VALERIE KLOOSTERMAN
                                                              Civil Action No. 1:22-cv-00944
         Plaintiffs                                           Hon. Jane M. Beckering

 v.

METROPOLITAN HOSPITAL, d/b/a
UNIVERSITY OF MICHIGAN HEALTH-WEST;
RAKESH PAI, an individual; RHAE-ANN
BOOKER, an individual; MARLA COLE, an
individual; THOMAS PIERCE, an individual; and
CATHERINE SMITH, an individual.

      Defendants.
______________________________________________________________________________

                      DEFENDANTS PAI, BOOKER, COLE, PIERCE AND
                         SMITH’S AMENDED MOTION TO DISMISS

         Defendants Rakesh Pai, Rhae-Ann Booker, Marla Cole, Thomas Pierce, and Catherine

Smith, by and through their attorneys, HALL, RENDER, KILLIAN, HEATH & LYMAN, PC, respectfully

move to dismiss Plaintiff Valerie Kloosterman’s (“Plaintiff”) Complaint and Jury Demand (ECF

No. 1) pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) for the following reasons:

      1. Counts I, II, and III against Defendants in their individual capacities should be treated as

claims against them in their official capacities.

      2. Counts VI, VII and VIII against Defendants in their individual and official capacities are

barred by the Eleventh Amendment to the United States Constitution. As a result, this Court lacks

subject matter jurisdiction over said claims. Fed. R.Civ. P. 12(b)(1).

      3. Counts I-III and VI-VIII against Defendants in their individual capacities (Counts I-III and

VI-VIII) should be dismissed because the injunctions sought relate only to their jobs. Fed. R.Civ.

P. 12(b)(1).


                                                    1
Case 1:22-cv-00944-JMB-SJB ECF No. 23, PageID.334 Filed 01/19/23 Page 2 of 3




   4. The Court should dismiss Plaintiff’s requests for injunctive relief against Defendants in

their individual and official capacities because Plaintiff did not plead that they possess the power

to reinstate her or to remedy the other alleged violations. Fed. R.Civ. P. 12(b)(1).

   5. Counts I, II, III, VI, VII and VIII should be dismissed because the dismissal of the claims

for injunctive relief requires dismissal of the claims for retrospective declaratory relief, leaving no

claims against Defendants. Fed. R.Civ. P. 12(b)(1).

   6. Counts I, II, III, VI, VII and VIII against Defendants in their official and individual

capacities fail to state claims on which relief can be granted because Plaintiff did not plead factual

allegations supporting claims of unconstitutional conduct. Fed. R.Civ. P. 12(b)(6).

   7. Counts I, II, III, VI, VII and VIII against Defendants in their official and individual

capacities fail to state claims on which relief can be granted because these claims amount to claims

of an intra-corporate conspiracy which is not recognized under the law. Further, each such count

fails to state claims on which relief can be granted because Plaintiff did not plead the conspiracies

with the requisite specificity. Fed. R.Civ. P. 12(b)(6).

   8. Counts I, III, VI and VIII against Defendants in their official and individual capacities fail

to state claims on which relief can be granted because those claims arise from allegations of

invidious discrimination and Plaintiff did not plead a discriminatory purpose. Fed. R.Civ. P.

12(b)(6).

   9. Counts VI, VII and VIII against Defendants in their official and individual capacities fail

to state claims on which relief can be granted for the reasons advanced in Defendant University of

Michigan Health West’s separately-filed Motion to Dismiss. Fed. R.Civ. P. 12(b)(6).




                                                  2
Case 1:22-cv-00944-JMB-SJB ECF No. 23, PageID.335 Filed 01/19/23 Page 3 of 3




         WHEREFORE, Defendants Pai, Booker, Cole, Pierce, and Smith, respectfully request that

this Honorable Court grant their Amended Motion to Dismiss, dismiss all claims against them with

prejudice and grant all other relief to which they are entitled.

                                               Respectfully submitted,

                                               HALL RENDER KILLIAN HEATH & LYMAN, PC

                                               /s/ Jonathon A. Rabin
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